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                                     PUBLISHED

                      UNITED STATES COURT OF APPEALS
                          FOR THE FOURTH CIRCUIT


                                      No. 19-4356


 UNITED STATES OF AMERICA,

                    Plaintiff - Appellee,

              v.

 DARYL G. BANK,

                    Defendant - Appellant.



 Appeal from the United States District Court for the Eastern District of Virginia, at
 Norfolk. Mark S. Davis, Chief District Judge. (2:17-cr-00126-MSD-LRL-1)


 Argued: April 30, 2020                                         Decided: July 14, 2020


 Before GREGORY, Chief Judge, and DIAZ and THACKER, Circuit Judges.


 Affirmed by published opinion. Judge Thacker wrote the opinion, in which Chief Judge
 Gregory joined. Judge Diaz wrote an opinion concurring in the judgment.


 ARGUED: James O. Broccoletti, ZOBY & BROCCOLETTI, PC, Norfolk, Virginia, for
 Appellant. Andrew Curtis Bosse, OFFICE OF THE UNITED STATES ATTORNEY,
 Norfolk, Virginia, for Appellee. ON BRIEF: G. Zachary Terwilliger, United States
 Attorney, Alexandria, Virginia, Melissa E. O’Boyle, Assistant United States Attorney,
 Elizabeth M. Yusi, Assistant United States Attorney, OFFICE OF THE UNITED STATES
 ATTORNEY, Norfolk, Virginia, for Appellee.
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 THACKER, Circuit Judge:

        This appeal presents the purely legal issue of whether disgorgement ordered in a

 civil Securities and Exchange Commission (“SEC”) proceeding constitutes a “criminal

 penalty” for purposes of the Double Jeopardy Clause, such that an individual cannot be

 later prosecuted for the conduct underlying the disgorgement.

        In April 2015, the SEC initiated enforcement proceedings in the District of Arizona

 against Daryl G. Bank (“Appellant”) for illegitimate investment activities. In 2017,

 Appellant entered into a consent agreement with the SEC, and the United States District

 Court for the District of Arizona ultimately held Appellant liable for disgorgement in the

 amount of $4,494,900.

        Shortly thereafter, a grand jury in the Eastern District of Virginia returned an

 indictment charging Appellant with, inter alia, securities fraud and unlawful sale of

 securities, based in part on the same conduct underlying the SEC proceeding. Appellant

 filed a motion to dismiss the indictment, arguing that, pursuant to the Double Jeopardy

 Clause, he could not be prosecuted for that conduct, as he had already been punished for

 it. The district court denied the motion.

        We join with every other circuit to have decided the issue in holding that

 disgorgement in an SEC proceeding is not a criminal penalty pursuant to the Double

 Jeopardy Clause. Therefore, we affirm.

                                             I.

        On April 6, 2015, the SEC initiated a civil enforcement action against Appellant and

 others in the United States District Court for the District of Arizona (the “SEC Action”).

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 The complaint alleged, inter alia, that Appellant, through fundraising entities that he owned

 and operated, offered and sold securities “purporting to raise funds to apply for F[ederal]

 C[ommunications] C[ommission] licenses.” J.A. 21. 1             According to the complaint,

 Appellant and others misled investors, assuring them their investment would yield high

 returns when they sold the Federal Communications Commission licenses to major cellular

 wireless carriers such as Sprint, but in reality, Appellant and his cohorts knew, or should

 have known, the licenses could never be sold or leased to any major wireless carriers. See

 id.

        In January 2017, Appellant entered into an agreement with the SEC (the “Consent

 Agreement”), consenting to judgment being entered against him “[w]ithout admitting or

 denying the allegations of the [SEC] complaint.” J.A. 135. The Consent Agreement also

 contained a clause stating that Appellant “waives any claim of Double Jeopardy based upon

 the settlement of this proceeding, including the imposition of any remedy or civil penalty

 herein.” Id. at 137.

        On February 7, 2018, the United States District Court for the District of Arizona

 entered a final judgment against Appellant in the SEC Action, holding Appellant civilly

 liable for a disgorgement of $4,494,900, representing profits gained as a result of the



        1
         Citations to the “J.A.” refer to the Joint Appendix filed by the parties in this appeal.
 The Federal Communications Commission “issues licenses to use the various frequencies
 [that comprise the available wireless capacity, or spectrum] throughout the country. The
 most common licenses involve transmitting radio, television, and cellular telephone signals
 on certain frequencies.” J.A. 26.


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 conduct alleged in the SEC complaint; pre-judgment interest in the amount of $802,553;

 and a civil penalty of $4,494,900, all pursuant to 15 U.S.C. §§ 77t(d), 78u(d)(3). See J.A.

 148. Three months later, on May 25, 2018, a grand jury in the Eastern District of Virginia

 returned the operative second superseding indictment 2 against Appellant and his

 codefendants, charging 28 counts of mail fraud, wire fraud, and violations of securities

 laws.

         Appellant filed a motion to dismiss the second superseding indictment. He argued

 that a recent Supreme Court case, Kokesh v. Securities and Exchange Commission, 137 S.

 Ct. 1635, 1639 (2017), which held that disgorgement is a “penalty” for purposes of a statute

 of limitations, rendered his disgorgement a “criminal sanction” for purposes of the Double

 Jeopardy Clause. J.A. 110. The Government responded that Kokesh did not address the

 precise issue at hand, and in any event, Appellant waived his ability to challenge the

 indictment by agreeing to the Consent Agreement’s waiver clause in the SEC Action.

         The district court denied the motion to dismiss. It first concluded the evidence was

 insufficient to demonstrate that Appellant relinquished a known right in agreeing to the

 waiver clause in the Consent Agreement.          The district court then held Appellant’s

 disgorgement in the SEC Action did not bar subsequent criminal prosecution for purposes

 of the Double Jeopardy Clause.




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          The original indictment was returned on August 23, 2017, and a first superseding
 indictment was returned on April 19, 2018. The panoply of securities fraud charges at
 issue here did not appear until the second superseding indictment on May 25, 2018.

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        Appellant filed a timely notice of appeal, and we possess jurisdiction pursuant to 28

 U.S.C. § 1291 and the collateral order doctrine. See Abney v. United States, 431 U.S. 651,

 662 (1977) (concluding, pursuant to the collateral order doctrine, “the courts of appeals

 may exercise jurisdiction over an appeal from a pretrial order denying a motion to dismiss

 an indictment on double jeopardy grounds”).

                                             II.

        We review de novo whether a waiver of one’s constitutional rights is valid. See

 United States v. Robinson, 744 F.3d 293, 298 (4th Cir. 2014). We also review de novo

 questions concerning the Double Jeopardy Clause. See United States v. Schnittker, 807

 F.3d 77, 81 (4th Cir. 2015).

                                             III.

                                             A.

                                           Waiver

        The Government contends that Appellant, in signing the Consent Agreement in the

 SEC Action, effected a knowing and intelligent waiver of his right to contest a future

 prosecution on Double Jeopardy grounds. The Consent Agreement provided the following:

               Consistent with 17 C.F.R. § 202.5(f), this Consent resolves
               only the claims asserted against Defendant in this civil
               proceeding. Defendant acknowledges that no promise or
               representation has been made by the SEC . . . with regard to
               any criminal liability that may have arisen or may arise from
               the facts underlying this action or immunity from any such
               criminal liability. Defendant waives any claim of Double
               Jeopardy based upon the settlement of this proceeding,
               including the imposition of any remedy or civil penalty herein.

 J.A. 137 (emphasis supplied).

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        Defendants are permitted to waive their constitutional right to assert a Double

 Jeopardy claim. See Menna v. New York, 423 U.S. 61, 62–63 n.2 (1975) (per curiam).

 However, “[a] waiver is ordinarily an intentional relinquishment or abandonment of a

 known right or privilege,” and courts should “indulge every reasonable presumption

 against waiver of fundamental constitutional rights,” rather than “presume acquiescence in

 the loss” of such rights. Johnson v. Zerbst, 304 U.S. 458, 464 (1938) (internal quotation

 marks omitted); see also United States v. Morgan, 51 F.3d 1105, 1110 (2d Cir. 1995) (“In

 examining a purported waiver of the double jeopardy right, we must draw all reasonable

 presumptions against the loss of such a right.”). Moreover, the language of the waiver

 must be “crystal clear.” United States v. Van Waeyenberghe, 481 F.3d 951, 957 (7th Cir.

 2007) (declining to decide Double Jeopardy challenge based on waiver alone, where “the

 language [in the waiver] does not specifically bar double jeopardy claims in future criminal

 proceedings” (emphasis in original)).

        Like the district court, we decline to rely on waiver to dispose of this matter. To

 begin, here, the waiver does not specifically bar double jeopardy claims in future

 proceedings, or in criminal proceedings. See Van Waeyenberghe, 481 F.3d at 957.

 Moreover, the waiver clause in the Consent Agreement purports to waive a challenge to

 “the imposition of any remedy or civil penalty.” J.A. 137. At the time Appellant signed

 the Consent Agreement, the Supreme Court had not considered disgorgement to be a

 penalty. But as explained further below, Kokesh did just that. Thus, what Appellant’s

 waiver represented at the time of the Consent Agreement changed after Kokesh. For these

 reasons, and because we draw all reasonable presumptions against a waiver of one’s

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 constitutional rights, we decline to rely on the waiver in the Consent Agreement in

 disposing of this appeal.

                                               B.

                           Disgorgement as a Civil or Criminal Penalty

        Appellant argues he “was subjected to the penalty of disgorgement of millions of

 dollars for violations of securities laws. The government now seeks to punish him again

 for the very same conduct. This is the very essence of Double Jeopardy.” Appellant’s Br.

 13 (citations omitted).

        The Double Jeopardy Clause provides that no person “shall be . . . subject for the

 same offence to be twice put in jeopardy of life or limb.” U.S. Const. amend. V. It

 “prohibits successive governmental criminal prosecutions and successive governmental

 punishments for the same conduct.” Jones v. Secs. & Exch. Comm’n, 115 F.3d 1173, 1183

 (4th Cir. 1997) (emphasis supplied).        However, the doctrine “does not prohibit the

 imposition of all additional sanctions that could, in common parlance, be described as

 punishment. [It] protects only against the imposition of multiple criminal punishments for

 the same offense.” Hudson v. United States, 522 U.S. 93, 98–99 (1997) (emphasis in

 original) (alterations, citations, and internal quotation marks omitted). See also Breed v.

 Jones, 421 U.S. 519, 528 (1975) (“In the constitutional sense, jeopardy describes the risk

 that is traditionally associated with a criminal prosecution.”); United States ex rel. Marcus

 v. Hess, 317 U.S. 537, 548–49 (1943) (explaining that only “criminal punishment”

 “subject[s] the defendant to ‘jeopardy’ within the constitutional meaning”); Helvering v.

 Mitchell, 303 U.S. 391, 398–99 (1938).

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        Two Supreme Court cases -- Kokesh v. Securities and Exchange Commission and

 Hudson v. United States -- inform our decision as to whether Appellant’s disgorgement

 was a civil penalty, which does not invoke the Double Jeopardy Clause, or a criminal

 penalty, which does.

                                               1.

                        Kokesh v. Securities and Exchange Commission

        In Kokesh, the Court was asked to decide whether disgorgement in an SEC

 enforcement proceeding is considered a “penalty” for purposes of a statute of limitations

 provision stating, “[A]n action, suit or proceeding for the enforcement of any civil fine,

 penalty, or forfeiture, pecuniary or otherwise, shall not be entertained unless commenced

 within five years from the date when the claim first accrued.” 28 U.S.C. § 2462; see

 Kokesh, 137 S. Ct. at 1645. The unanimous Court concluded that disgorgement is a penalty

 for statute of limitations purposes -- and thus, disgorgement actions must be commenced

 within five years of accrual -- for three reasons.

        First, “SEC disgorgement is imposed by the courts as a consequence for violating

 . . . public laws.” Kokesh, 137 S. Ct. at 1643. A securities violation is “committed against

 the United States rather than an aggrieved individual.” Id.

        Second, disgorgement is “imposed for punitive purposes.” Kokesh, 137 S. Ct. at

 1643. Indeed, “the primary purpose of disgorgement orders is to deter violations of the

 securities laws by depriving violators of their ill-gotten gains,” and “[s]anctions imposed

 for the purpose of deterring infractions of public laws are inherently punitive.” Id.

 (alteration and internal quotation marks omitted).

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        Third and finally, the Court reasoned that in many cases, “disgorgement is not

 compensatory. As courts and the Government have employed the remedy, disgorged

 profits are paid to the district court, and it is within the court’s discretion to determine how

 and to whom the money will be distributed.” Kokesh, 137 S. Ct. at 1644 (internal quotation

 marks omitted). In sum, “SEC disgorgement . . . bears all the hallmarks of a penalty: It is

 imposed as a consequence of violating a public law and it is intended to deter, not to

 compensate.” Id.

        However, we must look not only to what Kokesh says about disgorgement, but also

 what it did not say. See United States v. Dyer, 908 F.3d 995, 1001 (6th Cir. 2018) (“It is

 important to recognize what the Court did not say in Kokesh.” (emphasis in original)).

 First, Kokesh did not conclude that disgorgement is a criminal penalty. Second, Kokesh

 did not mention the Double Jeopardy Clause. Its holding was narrowly confined to

 interpretation of a statute of limitations provision. 3

                                                2.

                                    Hudson v. United States

        Whereas Kokesh provides the “penalty” piece of the puzzle in our Double Jeopardy

 inquiry, Hudson provides the “civil or criminal” piece. Before and after Kokesh, courts



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          The Supreme Court cautioned, “Nothing in [its] opinion should be interpreted as
 an opinion on whether courts possess authority to order disgorgement in SEC enforcement
 proceedings.” Kokesh, 137 S. Ct. at 1642 n.3. However, the Supreme Court recently
 decided that disgorgement may be ordered as equitable relief in an SEC enforcement
 action. Liu v. Sec. & Exch. Comm’n, --- S. Ct. ---, 2020 WL 3405845, at *2 (U.S. June
 22, 2020).

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  have routinely relied on the two part test of Hudson v. United States, 522 U.S. 93 (1997),

  to determine whether a sanction is a criminal penalty for purposes of the Double Jeopardy

  Clause.

         Hudson instructs that deciding whether a sanction is a criminal or civil penalty

  requires two steps. First, we begin with construction of the statute from which the penalty

  stems. At this step, we ask “whether the legislature, in establishing the penalizing

  mechanism, indicated either expressly or impliedly a preference for one label or the other.”

  Hudson, 522 U.S. at 99 (internal quotation marks omitted).

         Second, even if the legislature “has indicated an intention to establish a civil penalty,

  we . . . inquire[] further whether the statutory scheme was so punitive either in purpose or

  effect, as to transform what was clearly intended as a civil remedy into a criminal penalty.”

  Hudson, 522 U.S. at 99 (alteration, citation, and internal quotation marks omitted). Hudson

  provided seven factors as “useful guideposts” in this inquiry:

                (1) whether the sanction involves an affirmative disability or
                restraint; (2) whether it has historically been regarded as a
                punishment; (3) whether it comes into play only on a finding
                of scienter; (4) whether its operation will promote the
                traditional aims of punishment -- retribution and deterrence;
                (5) whether the behavior to which it applies is already a crime;
                (6) whether an alternative purpose to which it may rationally
                be connected is assignable for it; and (7) whether it appears
                excessive in relation to the alternative purpose assigned.

  Id. at 99–100 (alteration and internal quotation marks omitted). Notably, “these factors

  must be considered in relation to the statute on its face, and only the clearest proof will

  suffice to override legislative intent and transform what has been denominated a civil



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  remedy into a criminal penalty.” Id. at 100 (emphasis supplied) (citation and internal

  quotation marks omitted).

                                               3.

                                  The District Court’s Decision

         Here, the district court below applied the Hudson test to Appellant’s disgorgement.

  At step one (the statutory construction step), the district court recognized that certain

  statutes authorized the District of Arizona’s disgorgement order in the SEC Action. Below,

  the district court explained,

                Some courts suggest the authority [for disgorgement] comes
                from the provisions granting general equity jurisdiction in
                securities law violation cases (15 U.S.C. § 77v(a) and 15
                U.S.C. § 78aa). See, e.g., SEC v. Palmisano, 135 F.3d 860,
                865-66 (2d Cir. 1998); SEC v. Desai, 145 F. Supp. 3d 329,
                337–38 (D.N.J. 2015) (“. . . 15 U.S.C. § 77v(a), and . . . 15
                U.S.C. § 78aa[] allow for disgorgement of all profits derived
                from violating the securities laws.”). Other courts suggest
                disgorgement is an ancillary equitable power available to
                courts under the statutory provisions that grant courts the
                authority to issue injunctions in securities law violation cases
                (15 U.S.C. § 77t(b) and 15 U.S.C. 78u(d)(1)). See, e.g., SEC
                v. First City Fin. Corp., 890 F.2d 1215, 1230 (D.C. Cir. 1989)
                (“Disgorgement, then, is available simply because the relevant
                provisions of the Securities Exchange Act of 1934, . . . 15
                U.S.C. §§ 78u(d) and (e), vest jurisdiction in the federal
                courts.”); SEC v. Materia, 745 F.2d 197, 200–01 (2d Cir.
                1984). Which statute actually authorizes disgorgement does
                not impact the Court’s analysis on the issue of whether
                Congress intended disgorgement to be civil or criminal
                because, as explained below, the language of each statute
                impliedly indicates a preference for the civil label.

  United States v. Bank, 378 F. Supp. 3d 451, 457 (E.D. Va. 2019). Thus, at step one, the

  district court concluded that Congress had a preference that disgorgement would be a civil


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  penalty. At step two, the district court ticked through the seven factors and found that, on

  balance, there was no “clear[] proof” sufficient to transform the civil penalty to a criminal

  one. Id. at 460 (quoting Hudson, 522 U.S. at 100).

                                               4.

                                    Sister Circuit Decisions

         Both before and after Kokesh, seven of our sister circuits have held that a

  disgorgement order is not a criminal penalty subject to the Double Jeopardy Clause. None

  of our sister circuits has held otherwise. Six of these cases were decided before Kokesh.

  See United States v. Melvin, 918 F.3d 1296, 1301 (11th Cir. 2017) (“Melvin has failed to

  demonstrate with the ‘clearest proof’ necessary that the penalties [including disgorgement]

  imposed as a result of his earlier civil and administrative proceedings were so punitive that

  they must be treated as criminal penalties.”); United States v. Van Waeyenberghe, 481 F.3d

  951, 958–59 (7th. Cir. 2007) (on plain error review, observing Van Waeyenberghe offered

  “little to no analysis under Hudson as to why the injunction, disgorgement, and restitution

  required of him are anything other than equitable remedies that present no bar to

  subsequent criminal prosecution”); United States v. Perry, 152 F.3d 900, 904 (8th Cir.

  1998) (adopting reasoning of Secs. & Exch. Comm’n v. Palmisano); Secs. & Exch. Comm’n

  v. Palmisano, 135 F.3d 860, 865–66 (2d Cir. 1998) (applying the Hudson test, noting, “the

  nature of the sanction cannot turn solely on whether the conduct at issue is also a crime,

  for it is well established that Congress may impose both a criminal and a civil sanction in

  respect to the same act or omission” (internal quotation marks omitted)); United States v.

  Gartner, 93 F.3d 633, 635 (9th Cir. 1996) (pre-Hudson, recognizing that a “deterrent

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  purpose . . . does not automatically convert the penalty into [criminal] punishment”

  (internal quotation marks omitted)); Secs. & Exch. Comm’n v. Bilzerian, 29 F.3d 689, 696

  (D.C. Cir. 1994) (noting the equitable nature of disgorgement, as the court “order[s] [the

  defendant] to give up only his ill-gotten gains” and “d[oes] not subject him to an additional

  penalty”). 4

         One case -- United States v. Dyer, 908 F.3d 995, 1003 (6th Cir. 2018) -- was decided

  after Kokesh and, thus, is most relevant to the case at hand because that court had a chance

  to analyze Hudson against the Supreme Court’s declaration that disgorgement is a

  “penalty.” Dyer reasoned, “[T]he statement in Kokesh that disgorgement is a ‘penalty’ is

  not a game changer.” Id. Kokesh’s holding was “narrow and limited solely to the statute

  of limitations in 28 U.S.C. § 2462. Nothing from Kokesh serves as the ‘clearest proof’ we

  require to transform a civil remedy into a criminal punishment for Double Jeopardy

  purposes.” Id.

                                               5.

                                           Analysis

         As explained below, we conclude that disgorgement in Appellant’s SEC proceeding

  is not a criminal penalty for purposes of the Double Jeopardy Clause, and the district court

  did not err in denying the motion to dismiss.



         4
          The Tenth Circuit also rejected a pre-Hudson argument that a prosecution after an
  SEC enforcement action violated the Double Jeopardy Clause, reasoning that the SEC
  judgment bore a rational relationship to the loss caused by the defendant. See United States
  v. Rogers, 960 F.2d 1501, 1506–07 (10th Cir. 1992).

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                                                 a.

                              Hudson Step One: Legislative Preference?

         Applying the Hudson two-step test, we first ask “whether the legislature, in

  establishing the penalizing mechanism, indicated either expressly or impliedly a preference

  for one label or the other.” Hudson, 522 U.S. at 99 (internal quotation marks omitted).

  The question of which statute provides the “penalizing mechanism” does not have a

  straightforward answer, as Congress does not list disgorgement explicitly as a remedy the

  SEC can seek for violations of securities laws. But as thoroughly explained by the district

  court, the authority for district courts to order disgorgement as a remedy stems from a

  variety of statutes.

         The complaint in the SEC Action listed 15 U.S.C. §§ 77t(b), 78u(d), 77v(a), and

  78aa as jurisdictional bases, and the District of Arizona’s disgorgement order cites

  specifically to §§ 77t(d) and 78u(d)(3) as bases for the remedy. See J.A. 22 (complaint in

  SEC Action); id. at 148 (disgorgement order in SEC Action). Looking to these statutes,

  they each contemplate the district courts overseeing proceedings and assigning remedies

  that are civil in nature.

         For example, § 77t(d) -- one of the statutes cited as a basis for Appellant’s

  disgorgement -- provides that district courts “shall have jurisdiction to impose, upon a

  proper showing, a civil penalty to be paid by the person who committed such violation.”

  15 U.S.C. § 77t(d)(1) (emphasis supplied). Furthermore, § 77t(b) contemplates the SEC

  “transmit[ting] such evidence as may be available concerning such [improper] acts or

  practices to the Attorney General who may, in his discretion, institute the necessary

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  criminal proceedings under this subchapter.” 15 U.S.C. § 77t(b). The indication that

  different procedures must occur in order to initiate a criminal matter necessarily implies

  that an SEC enforcement proceeding over which the district court possesses jurisdiction is

  the opposite -- that is, civil.

         Other statutes give federal courts the power to entertain suits brought by the SEC in

  equity and grant equitable relief. “In any action or proceeding brought or instituted by the

  [SEC] under any provision of the securities laws, the [SEC] may seek, and any Federal

  court may grant, any equitable relief that may be appropriate or necessary for the benefit

  of investors.” 15 U.S.C. § 78u(d)(5) (emphasis supplied). Recently, the Supreme Court

  concluded, “[A] disgorgement award that does not exceed a wrongdoer’s net profits and is

  awarded for victims is equitable relief permissible under § 78u(d)(5).” Liu v. Sec. & Exch.

  Comm’n, --- S. Ct. ---, 2020 WL 3405845, at *2 (U.S. June 22, 2020). The Court reasoned

  that disgorgement falls within the “‘categories of relief that were typically available in

  equity,’” as “equity practice long authorized courts to strip wrongdoers of their ill-gotten

  gains.” Id. at *5 (quoting Mertens v. Hewitt Assocs., 508 U.S. 248, 256 (1993)).

         In addition, the district courts have jurisdiction over “all suits in equity and actions

  at law brought to enforce any liability or duty created by this chapter or the rules and

  regulations thereunder.” 15 U.S.C. § 78aa(a) (emphasis supplied); see § 77v(a) (“district

  courts . . . shall have jurisdiction of offenses and violations under this subchapter. . . of all

  suits in equity and actions at law brought to enforce any liability or duty created by this

  subchapter” (emphasis supplied)).



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         The Federal Rules of Civil Procedure make clear that suits in equity are considered

  civil actions. See Fed. R. Civ. P. 2, advisory cmte. n.2 to 1937 amend. (“Reference to

  actions at law or suits in equity in all statutes should now be treated as referring to the civil

  action prescribed in these rules.”); Raplee v. United States, 842 F.3d 328, 332 (4th Cir.

  2016) (“The Federal Rules famously abolished distinctions between various types of

  judicial proceedings -- like the distinction between ‘actions at law’ and ‘suits in equity’ --

  by announcing that ‘[t]here shall be one form of action to be known as “civil action.”’”

  (quoting Fed. R. Civ. P. 2 (1938))). Thus, there is strong evidence that Congress, in

  establishing these equitable penalizing mechanisms, preferred for the remedies created

  therefrom to be civil in nature. 5

                                                 b.

                   Hudson Step Two: Clear Proof of Criminal Punishment?

         Moving to step two, even though Congress has indicated a preference that

  disgorgement is civil in nature, if Appellant can demonstrate the “clearest proof” to

  transform a civil remedy into a criminal punishment, disgorgement may preclude a




         5
           Appellant believes “disgorgement is not a statutory creation; it is a judicially-
  created punishment.” Appellant’s Br. 13. Thus, “the parameters set forth in Hudson must
  be tempered in light of the fact that Hudson deals only with statutory punishments.” Id. at
  14 (emphasis in original). But Appellant does not explain how the district court should
  have tempered the parameters of Hudson, nor does he explain why a punishment that may
  be judicially created but nonetheless authorized by statute should not be subject to the
  Hudson test, other than simply stating “there is no express authority in any statute that
  authorizes disgorgement.” Id. at 15 (emphasis in original).

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  subsequent prosecution under the Double Jeopardy Clause. We use the seven Hudson

  factors as “useful guideposts.” 522 U.S. at 99.

                                               i.

                         Factor One: Affirmative Disability or Restraint

         The first factor is whether the disgorgement constituted “affirmative disability or

  restraint.” Hudson, 522 U.S. at 104 (internal quotation marks omitted). Hudson compared

  such disability or restraint as “approaching the ‘infamous punishment’ of imprisonment.”

  Id. (quoting Flemming v. Nestor, 363 U.S. 603, 617 (1960)).

         This factor weighs in favor of disgorgement being a civil penalty. The order

  requiring the disgorgement of funds did not result in Appellant’s imprisonment, and the

  amount of disgorgement did not require him to pay anything from his own pocket; 6 he

  merely had to give up the ill-gotten gains from his fraudulent securities scheme. See

  Melvin, 918 F.3d at 1300 (rejecting argument that SEC civil penalties constituted an

  affirmative disability or restraint). 7




         6
          The Liu Court noted that, by incorporating “longstanding equitable principles into
  § 78u(d)(5), Congress prohibited the SEC from seeking an equitable remedy in excess of a
  defendant’s net profits from wrongdoing.” 2020 WL 3405845, at *8. Appellant does not
  challenge the disgorgement award in this case on the ground that it exceeds the net profits
  he unlawfully gained, nor does he contend it was not “awarded for victims.” Id. at *2.
  Therefore, we save for another day the question of whether a disgorgement award that
  exceeds the wrongdoer’s net profits and/or is not awarded for victims can nonetheless be
  considered a civil penalty pursuant to the Hudson test.
         7
          In addition to disgorgement, Appellant also received a civil penalty in the same
  amount in the SEC Action. However, he does not challenge the civil penalty as a criminal
  punishment; he only challenges the disgorgement.

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                                             ii.

                     Factor Two: Historically Regarded as Punishment

        The second factor is whether disgorgement has historically been regarded as a

  punishment. See Hudson, 522 U.S. at 99. Hudson itself explained that “the payment of

  fixed or variable sums of money is a sanction which has been recognized as enforce[a]ble

  by civil proceedings since the original revenue law of 1789.” Id. at 104 (alterations and

  internal quotation marks omitted). And as the district court explained, “Prior to Kokesh,

  courts in multiple circuits specifically held that disgorgement was not a criminal

  punishment for Double Jeopardy purposes.” Bank, 378 F. Supp. 3d at 461 (citing Melvin,

  918 F.3d at 1301; Van Waeyenberghe, 481 F.3d at 958–59; Perry, 152 F.3d at 904;

  Palmisano, 135 F.3d at 865–66; Gartner, 93 F.3d at 635; Bilzerian, 29 F.3d at 696).

        Kokesh does not throw the balance of this factor in favor of Appellant. First of all,

  even if a penalty is equivalent to some kind of punishment, Kokesh did not say it was a

  criminal punishment. Moreover, the Supreme Court expressly limited its holding in

  Kokesh when it stated, “The sole question presented in this case is whether disgorgement,

  as applied in SEC enforcement actions, is subject to [28 U.S.C] § 2462’s limitations

  period.” 137 S. Ct. at 1642 n.3 (emphasis supplied). The Court was not setting out to make

  a general proclamation that disgorgement was a punishment for all purposes, especially

  Double Jeopardy purposes.

        Thus, the second factor weighs in favor of disgorgement as a civil penalty.




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                                                 iii.

                                      Factor Three: Scienter

         Third, we consider whether disgorgement “comes into play only on a finding of

  scienter.” Hudson, 522 U.S. at 99. Although many of the underlying offenses that lead to

  the remedy of disgorgement require scienter for the substantive criminal offense, whether

  a court orders disgorgement is not dependent in and of itself on whether the defendant

  exhibited scienter.

         As mentioned at step one above, there are certain statutes that authorize district

  courts to fashion the remedy of disgorgement. But “nothing on the face of [sections 77t(b)

  and 78u(d)] purports to impose an independent requirement of scienter. And there is

  nothing in the legislative history of either provision to suggest a contrary legislative intent.”

  Aaron v. Secs. & Exch. Comm’n, 446 U.S. 680, 701 (1980). Likewise, nothing on the face

  of the other statutes mentioned above purport to require scienter before a district court may

  order disgorgement.

         The third factor weighs in favor of disgorgement as a civil penalty.

                                                 iv.

                            Factor Four: Retribution and Deterrence

         The fourth factor to consider is whether the disgorgement ordered in the prior civil

  enforcement proceeding “promote[s] the traditional aims of punishment -- retribution and

  deterrence.” Hudson, 522 U.S. at 99.

         Kokesh tilts this factor in Appellant’s favor. Kokesh specifically stated that “SEC

  disgorgement is imposed for punitive purposes” because its “primary purpose . . . is to

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  deter violations of the securities laws by depriving violators of their ill-gotten gains.” 137

  S. Ct. at 1643 (emphasis supplied) (internal quotation marks omitted). Disgorgement “is

  imposed as a consequence of violating a public law and . . . is intended to deter.” Id. at

  1644 (emphasis supplied). Further, the Court explained, “disgorgement orders go beyond

  compensation, are intended to punish, and label defendants wrongdoers as a consequence

  of violating public laws.” Id. at 1645 (internal quotation marks omitted). Because of this

  strong language from the Supreme Court, the fourth factor weighs in favor of disgorgement

  as a criminal penalty.

                                                v.

                           Factor Five: Behavior that is Already a Crime

         Fifth, we ask whether the behavior to which the disgorgement applies “is already a

  crime.” Hudson, 522 U.S. at 99. This factor, too, weighs in favor of Appellant. Here,

  although Appellant did not admit to the allegations in the SEC complaint, the disgorgement

  order also enjoined Appellant from committing violations of the substantive offenses set

  forth in 15 U.S.C. §§ 77q(a), 77e, 78j(b), and 78o(a), and 17 C.F.R. § 240.10b-5. These

  offenses are also punishable as crimes under § 77x (applying to violations of 15 U.S.C.

  § 77a–77aa) or § 78ff (applying to violations under 15 U.S.C. § 78a–78qq).

                                                vi.

                                  Factor Six: Alternative Purpose

         Sixth, we ask if there is “an alternative purpose to which [disgorgement] may

  rationally be connected,” Hudson, 522 U.S. at 99, in order to determine whether the



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  “remed[y] ha[s] a clear rational purpose other than punishment,” Palmisano, 135 F.3d at

  866.

         Kokesh resolves this factor in favor of the Government. There, the Court explained

  that although the primary purpose of disgorgement is punishment, there are other purposes

  as well. 137 S. Ct. at 1643, 1645 (recognizing that disgorgement can be both remedial and

  punitive). As Dyer recognized, “there are ‘clear rational purposes’ for disgorgement other

  than punishment.” 908 F.3d at 1003 (quoting Palmisano, 135 F.3d at 866) (alteration

  omitted). These nonpunitive purposes include “ensuring that defendants do not profit from

  their illegal acts, ‘encouraging investor confidence, increasing the efficiency of financial

  markets, and promoting stability of the securities industry.’” Id. (quoting Palmisano, 135

  F.3d at 866); see also Secs. & Exch. Comm’n v. Cavanagh, 445 F.3d 105, 117 (2d Cir.

  2006) (“[T]he primary purpose of disgorgement is not to compensate investors. Unlike

  damages, it is a method of forcing a defendant to give up the amount by which he was

  unjustly enriched. The emphasis on public protection, as opposed to simple compensatory

  relief, illustrates the equitable nature of the remedy.” (citation and internal quotation marks

  omitted)).

         Therefore, this factor weighs in favor of disgorgement as a civil penalty.

                                               vii.

                  Factor Seven: Excessive in Relation to Alternative Purpose

         Finally, we ask whether disgorgement “appears excessive in relation to the

  alternative purpose assigned.” Hudson, 522 U.S. at 99–100. This factor weighs in favor

  of disgorgement as a civil penalty. Disgorgement is meant to be limited to the amount of

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  illegal profits gained by a defendant, and as such, it is less likely that disgorgement “will

  be excessive in relation to Congress’s nonpunitive goals.” Palmisano, 135 F.3d at 866.

                                                c.

                                  Kokesh’s Effect on Hudson

         Appellant contends that, while Hudson “provides a useful starting point,” it “must

  be read in conjunction with Kokesh.” Appellant’s Br. 14. Appellant admits that Kokesh

  did not go so far as to declare disgorgement a criminal penalty for purposes of Double

  Jeopardy. But he insists, “While the lower court is correct that the question of whether

  disgorgement is a punishment for Double Jeopardy purposes was not before the Supreme

  Court in Kokesh, the Supreme Court could not have been more direct in its holding and the

  implication is unmistakable [that disgorgement is a Double Jeopardy punishment].” Id. at

  8. Appellant believes Kokesh “represents a substantial change from prior case law. In both

  its holding and analysis[,] the Court fundamentally altered the definition of what constitutes

  a punishment.” Id.

         However, as the district court observed, “[Appellant’s] motion asks this Court to

  reach beyond the express limitations of Kokesh and hold that it overturned years of case

  law declaring that disgorgement is not a punishment for criminal Double Jeopardy

  purposes.” Bank, 378 F. Supp. at 462. Accordingly, “because Kokesh was expressly

  limited to the application of 28 U.S.C. § 2462, it did not change the historical view of

  disgorgement and declare disgorgement to be a criminal punishment.” Id. As explained

  above, although Kokesh tipped two of the Hudson factors in favor of Appellant, it did not



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  go so far as to provide the “clear[] proof” Appellant needs for his motion to dismiss to

  succeed. Hudson, 522 U.S. at 100.

                                              d.

                                         Conclusion

        For these reasons, the balance of the factors weighs in favor of deeming

  disgorgement a civil penalty. Again, Hudson directs that we must find the “clearest proof”

  that the civil penalty is actually meant to be criminal in nature. 522 U.S. at 100. An

  analysis of the seven Hudson factors demonstrates the proof here is far from clear.

  Therefore, we hold that disgorgement is a civil penalty, and it does not fit within the

  parameters of the Double Jeopardy Clause.

                                              IV.

        For the reasons set forth above, the judgment of the district court is

                                                                                 AFFIRMED.




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  DIAZ, Circuit Judge, concurring in the judgment:

         I have no quarrel with the majority’s conclusion that disgorgement is a civil penalty

  for purposes of the Double Jeopardy Clause. But I find it unnecessary to decide that

  question, as I believe that the Consent Agreement contains a valid waiver of Bank’s right

  to assert a double jeopardy claim in this criminal proceeding.

         As the majority rightly observes, we “indulge every reasonable presumption against

  waiver of fundamental constitutional rights.” Johnson v. Zerbst, 304 U.S. 458, 464 (1938)

  (cleaned up). But this waiver clause invites no such reasonable presumptions. When Bank

  entered into the Consent Agreement with the SEC, he “waive[d] any claim of Double

  Jeopardy based upon the settlement of [the] proceeding, including the imposition of any

  remedy or civil penalty [t]herein.” J.A. 137. On its face, then, the clause forfeits Bank’s

  right to bring the present claim: a “claim of Double Jeopardy based upon . . . the imposition

  of . . . [a] remedy or civil penalty” pursuant to the SEC proceeding. Id.

         My colleagues nonetheless find the waiver to be ambiguous. In particular, they

  would require Bank to have explicitly waived the right to bring a double jeopardy claim in

  future criminal proceedings. But double jeopardy claims necessarily involve future

  criminal proceedings. See Hudson v. United States, 522 U.S. 93, 99 (1997) (“The [Double

  Jeopardy] Clause protects only against the imposition of multiple criminal punishments for

  the same offense, and then only when such occurs in successive proceedings.” (cleaned

  up)). Failure to include such surplusage doesn’t render the waiver clause ambiguous.

         Nor am I persuaded by the majority’s observation that “[a]t the time [Bank] signed

  the Consent Agreement, the Supreme Court had not considered disgorgement to be a

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  penalty.” Maj. Op. 6. As my colleagues correctly note elsewhere in their opinion, Kokesh

  was “narrowly confined to interpretation of a statute of limitations provision.” Maj. Op. 9.

  Kokesh did not, then, broadly redefine the meaning of either “penalty” or “disgorgement”

  as contemplated by the waiver. And even if it did, Bank also waived the right to bring a

  double jeopardy claim based on the imposition of “any remedy.” J.A. 137 (emphasis

  added). Regardless of its effect on the definition of “penalty,” Kokesh certainly had no

  effect on disgorgement’s longstanding status as a “remedy.” See Kokesh v. SEC, 137 S.

  Ct. 1635, 1643 (2017) (referring, without comment, to SEC disgorgement as a “remedy”).

                                             ***

         In sum, Bank waived the right to assert a double jeopardy claim in this case. On

  that ground alone, I would affirm the district court’s judgment.




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